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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION



 UNITED STATES OF AMERICA                              )      Case No.
                                                       )
                                                       )      Filed:
                V.                                     )
                                                       )      Violation: 15 U.S.C. § 1
                                                       )
 AISIN SEIKI CO., LTD.,                                )

                               Defendant.              J: 14 -cr-02 2 ~ JMS-MJD
                                         INFORMATION

                                     COUNT ONE
                            CONSPIRACY TO RESTRAIN TRADE
                                     15 u.s.c. § 1

 THE UNITED STATES, ACTING THROUGH ITS ATTORNEYS, CHARGES:

                                                  I.

                                 Defendant and Co-Conspirators

        1.      AISIN SEIKI CO., LTD. ("Defendant") is a corporation organized and existing

 under the laws of Japan with its registered headquarters in Kari ya, Japan, and U.S. subsidiaries in

 various locations, including Northville, MI. During the period covered by this Information, the

 Defendant was engaged in the business of manufacturing and selling variable valve timing

 ("VVT") devices to automobile manufacturers, including General Motors Company, Nissan

 Motor Co., Ltd., Volvo Car Corporation, BMW AG, and certain of their subsidiaries, affiliates,

 and suppliers (collectively, "Automobile Manufacturers") for installation in vehicles

 manufactured and sold in the United States and elsewhere.
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        2.      Another corporation and other individuals, not made defendants in this

 Information, participated as co-conspirators in the offense charged in this Information and

 performed acts and made statements in furtherance thereof.

        3.      Whenever in this Information reference is made to any act, deed, or transaction of

 any corporation, the allegation means that the corporation engaged in the act, deed, or transaction

 by or through its officers, directors, agents, employees, or other representatives while they were

 actively engaged in the management, direction, control, or transaction of its business or affairs.

                                                  II.

                                    Background of the Offense

        4.      During the period covered by this Information, the Defendant and its co-

 conspirators supplied VVT devices to Automobile Manufacturers for installation in vehicles

 manufactured and sold in the United States and elsewhere. During the period covered by this

 Information, the Defendant and its co-conspirators manufactured VVT devices: (a) in the United

 States for installation in vehicles manufactured and sold in the United States; (b) in Japan and

 elsewhere for export to the United States and installation in vehicles manufactured and sold in

 the United States; and (c) in Japan and elsewhere for installation in vehicles manufactured in

 Japan and elsewhere for export to and sale in the United States.

        5.      VVT devices are installed in automobile engines and regulate the timing, extent,

 and duration of the opening of the engine's intake and exhaust valves, thereby increasing fuel

 economy and engine performance. When an Automobile Manufacturer wishes to purchase a

 VVT device for installation in an automobile engine, it typically issues a Request for Quotation

 ("RFQ") to automotive-parts suppliers. The RFQ specifies the type of camshaft that is used by

 the engine. In response to the RFQ, automotive-parts suppliers submit price quotes, or bids, to



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 the Automobile Manufacturer for a VVT device that fits the engine's camshaft. Usually, the

 process to supply VVT devices for a particular engine model begins three or four years prior to

 the start of the engine's production. The typical length of a contract to supply VVT devices is

 three to five years.

                                                 III.

                                     Description of the Offense

         6.      From at least as early as September 2000 and continuing until at least February

 2010, the Defendant and its co-conspirators participated in a combination and conspiracy to

 suppress and eliminate competition in the automotive parts industry by agreeing to allocate

 customers of, rig bids for, and fix, stabilize, and maintain the prices of, VVT devices sold to

 Automobile Manufacturers in the United States and elsewhere. The combination and conspiracy

 engaged in by the Defendant and its co-conspirators was in unreasonable restraint of interstate

 and import trade and commerce in violation of Section 1 of the Sherman Act (15 U.S.C. § 1).

         7.      The charged combination and conspiracy consisted of a continuing agreement,

 understanding, and concert of action among the Defendant and its co-conspirators, the substantial

 terms of which were to allocate customers of, rig bids for, and fix, stabilize, and maintain the

 prices of, VVT devices sold to Automobile Manufacturers in the United States and elsewhere.

                                                 IV.

                              Manner and Means of the Conspiracy

         8.      For the purpose of forming and carrying out the charged combination and

 conspiracy, the Defendant and its co-conspirators did those things that they combined and

 conspired to do, including, among other things:




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              (a)     participating in meetings, conversations, and communications to discuss

       bids and price quotations for VVT devices to be submitted to Automobile Manufacturers

       in the United States and elsewhere;

              (b)     agreeing, during those meetings, conversations, and communications, to

       allocate the Automobile Manufacturers to whom each would sell VVT devices in the

       United States and elsewhere;

              (c)     agreeing, during those meetings, conversations, and communications, on

       bids and price quotations for VVT devices to be submitted to Automobile Manufacturers

       in the United States and elsewhere;

              (d)    exchanging information on bids and price quotations for VVT devices to

       be submitted to Automobile Manufacturers in the United States and elsewhere, in order to

       effectuate the agreements;

              (e)    submitting bids and price quotations for VVT devices to Automobile

       Manufacturers in the United States and elsewhere in accordance with the agreements

       reached;

              (f)    selling VVT devices to Automobile Manufacturers in the United States

       and elsewhere at collusive and noncompetitive prices;

              (g)    accepting payment for VVT devices sold to Automobile Manufacturers in

       the United States and elsewhere at collusive and noncompetitive prices; and

              (h)    engaging in meetings, conversations, and communications for the purpose

       of monitoring and enforcing adherence to the conspiracy.




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                                                   V.

                                        Trade and Commerce

         9.      During the period covered by this Count, the Defendant and its co-conspirators

 sold to Automobile Manufacturers in the United States and elsewhere substantial quantities of

 VVT devices in a continuous and uninterrupted flow of interstate and import trade and

 commerce. In addition, substantial quantities of equipment and supplies necessary to the

 manufacture and sale ofVVT devices sold by Defendant and its co-conspirators, as well as

 substantial payments for VVT devices sold by Defendant and its co-conspirators, traveled in

 interstate and import trade and commerce. The business activities of Defendant and its co-

 conspirators in connection with the manufacture and sale ofVVT devices that were the subject

 of the charged conspiracy were within the flow of, and substantially affected, interstate and

 import trade and commerce.

                                                   VI.

                                       Jurisdiction and Venue

         10.    The combination and conspiracy charged in this Information was carried out

 within the United States, at least in part, within the five years preceding the filing of this

 Information.




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 ALL IN VIOLATION OF TITLE 15, UNITED STATES CODE, SECTION 1.

 Dated:   ·f I / I:!:>/;<(



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